       Case 2:13-cr-00165-TLN Document 78 Filed 08/26/14 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                              ) Case No. 2:13-cr-165 TLN
11                                                          )
                      Plaintiff,                            ) STIPULATION AND ORDER CONTINUING
12                                                          ) STATUS CONFERENCE
            vs.                                             )
13                                                          ) Date: October 2, 2014
     STACEY MISTLER,                                        ) Time: 9:30 a.m.
14                                                          ) Judge: Hon. Troy L. Nunley
                      Defendant.                            )
15                                                          )
                                                            )
16
             The United States of America, by and through Olusere Olowoyeye, Assistant United
17
     States Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon,
18
     Assistant Federal Defender, agree to vacate the change of plea date of August 28, 2014 and set it
19
     for October 2, 2014 at 9:30 a.m. for the following reason:
20
             The reason for the request is to allow defense counsel to review the proposed plea
21
     agreement with the defendant in preparation for her change of plea.
22
             The parties agree that the Court should exclude time from computation under the Speedy
23
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to
24
     provide defense counsel with the reasonable time to prepare, and that the ends of justice to be
25
     served by granting the continuance outweigh the best interests of the public and the defendant in
26
     a speedy trial. The exclusion of time is from August 22, 2014 until October 2, 2014.
27
28

      Stipulation and Order to Continue Status Conference                   U.S. v. Mistler, et al., 2:13-cr-165 TLN
       Case 2:13-cr-00165-TLN Document 78 Filed 08/26/14 Page 2 of 2


1
                                                            Respectfully submitted,
2
3    Dated: August 22, 2014                                 HEATHER E. WILLIAMS
                                                            Federal Defender
4
5                                                           /s/ MATTHEW C. BOCKMON
                                                            MATTHEW C. BOCKMON
6                                                           Assistant Federal Defender
7                                                           Attorney for Defendant
                                                            STACEY MISTLER
8
9    Dated: August 22, 2014                                 BENJAMIN B. WAGNER
                                                            United States Attorney
10
11                                                          /s/ Matthew C. Bockmon for
                                                            OLUSERE OLOWOYEYE
12                                                          Assistant U.S. Attorney
                                                            Attorney for Plaintiff
13
14
                                                            ORDER
15
             Based on the reasons set forth in the stipulation of the parties filed on August 22, 2014,
16
     and good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety.
17
     IT IS HEREBY ORDERED that the change of plea currently set for Thursday, August 28, 2014,
18
     be vacated and set for Thursday, October 2, 2014, at 9:30 a.m. The Court finds that the ends of
19
     justice to be served by granting a continuance outweigh the best interests of the public and the
20
     defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons
21
     stated in the parties’ August 22, 2014 stipulation, the time within which the trial of this matter
22
     must be commenced under the Speedy Trial Act is excluded during the time period of August 22,
23
     2014, through and including October 2, 2014, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv)
24
     and Local Code T4.
25
     Dated: August 25, 2014
26
27
                                                            Troy L. Nunley
28                                                          United States District Judge

      Stipulation and Order to Continue Status Conference                         U.S. v. Mistler, et al., 2:13-cr-165 TLN
